       Case 2:22-cv-00213-JJT Document 62 Filed 12/30/22 Page 1 of 2



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 7   Attorneys for Plaintiffs State of Arizona and Mark Brnovich
 8
                        IN THE UNITED STATES DISTRICT COURT
 9
10                             IN THE DISTRICT OF ARIZONA

11
      Arizona.
12                                                                 No: 2:22-cv-213
13                                     Plaintiff,
      v.                                              NOTICE OF APPEARANCE FOR
14                                                   PLAINTIFFS STATE OF ARIZONA
      Walsh.                                             AND MARK BRNOVICH
15
16                                    Defendant.
17
18         Please take notice that Brian M. Bergin and Anthony R. Napolitano, of Bergin
19   Frakes Smalley & Oberholtzer, PLLC, hereby enter their appearance on behalf of Plaintiff
20   State of Arizona and Mark Brnovich (“Plaintiffs”). Please send future notices and
21   correspondence addressed to the Plaintiffs the following address:
22
                                            Brian M. Bergin
23
                                         Anthony R. Napolitano
24                             Bergin Frakes Smalley & Oberholzer PLLC
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       Case 2:22-cv-00213-JJT Document 62 Filed 12/30/22 Page 2 of 2



 1
 2         DATED this 30th day of December, 2022.
 3
 4                                           BERGIN, FRAKES, SMALLEY &
                                             OBERHOLTZER, PLLC
 5
 6                                           By: /s/ Anthony R. Napolitano
                                             Brian M. Bergin
 7                                           Anthony R. Napolitano
 8                                           4343 E. Camelback Road, Suite 210
                                             Phoenix, Arizona 85018
 9                                           Attorneys for Plaintiffs State of Arizona and
10                                           Mark Brnovich

11
12                              CERTIFICATE OF SERVICE

13          On this 30th day of December, 2022, the foregoing was filed with the Arizona
     District Court Clerk’s Office using the CM/ECF System for filing, which will provide a
14
     Notice of Electronic Filing to all CM/ECF registrants.
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     By: /s/ Anthony R. Napolitano
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